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                                   Uiolation of Civil Ri   ts   on-Prisoner

Rt.CE\     \.I.S.D.C. t,.t\anta
                                        UNITED STATES DISTRICT COURT
         ~UG \ ~ 1010                                                         for the
                                                           Northern District of Georgia

                                                                  Civil_ __ Division

                           Deon D. Jones
                    Civil Action# 19-1-7743-48                                   )      Case No.
                                                                                 )
                                                                                 )
                                Plaintiff(s)
 (Write the full name of each plaintiffwho is filing this complaint.
                                                                                 )
                                                                                 )      Jury Trial : (check one)   [Z]Yes   0No
 If the names of all the plaintiffs cannot fit in the space above,
 please write "see attached" in the sp ace and attach an additional              )
 page with the f ull list of names.)                                             )
                                  -v-                                            )
                                                                                 )
                   Cobb County Superior Court
                                                                                 )
                                                                                 )
                                                                                 )
                              Defendan t(s)                                      )
 (Write the full name ofeach defendant who is being sued. If the                 )
 names of all the defendants cannot fit in the space above, please               )
 write "see attached " in the space and attach an additional page
 with the full list of names. Do not include addresses here.)



                                  COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                            (Non-Prisoner Complaint)


                                                                         NOTICE

     Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
     electronic court files . Under this rule, papers filed with the court should not contain: an individual' s full social
     security number or full birth date; the full name of a person known to be a minor; or a complete financial account
     number. A filing may include only: the last four digits of a social security number; the year of an individual's
     birth; a minor' s initials; and the last four digits of a financial account number.

     Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
     other materials to the Clerk' s Office with this complaint.

     In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
     forma pauperis.




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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)


I.        The Parties to This Complaint

          A.         The Plaintiff(s)

                     Provide the infonnation below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                           Name                                          Deon D. Jones
                           Address                                      2571 Forrester Ct
                                                                         Lithia Springs                GA                30122
                                                                                    City              State              Zip Code
                           County                                       Douglas
                           Telephone Number                             (470)432-1752
                           E-Mail Address                               deonjones1979@gmail.com

          B.         The Defendant(s)

                     Provide the infonnation below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known) and check whether you are bringing this complaint against
                     them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No. 1
                            Name                                         Cobb County Superior Court
                            Job or Title (if known)
                            Address                                      70 Haynes St. Marietta, GA 30090
                                                                         Marieeta                      GA                30090
                                                                                    City              State              Zip Code
                           County                                        Cobb
                           Telephone Number                              (770 )528-1800
                           E-Mail Address (if known)                     Web Administrator

                                                                        D Individual capacity    [Z] Official capacity

                     Defendant No. 2
                           Name
                            Job or Title (if known)
                            Address

                                                                                    City              State              Zip Code
                            County
                            Telephone Number
                            E-Mail Address (if known)

                                                                        D Individual capacity    [Z] Official capacity


                                                                                                                                    Page 2 of 6
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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)


                     Defendant No. 3
                           Name
                           Job or Title (if known)
                            Address

                                                                                  City             State            Zip Code
                           County
                           Telephone Number
                           E-Mail Address (if known)

                                                                        D Individual capacity D Official capacity
                     Defendant No. 4
                           Name
                           Job or Title (if known)
                           Address

                                                                                  City             State            Zip Code
                            County
                            Telephone Number
                            E-Mail Address (if known)

                                                                        D Individual capacity D Official capacity
II.       Basis for Jurisdiction

          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
          Federal Bureau of Narcotics, 403 US. 388 (19 71), you may sue federal officials for the violation of certain
          constitutional rights.

           A.         Are you bringing suit against (check all that apply):

                     D Federal officials (a Bivens claim)
                     [{] State or local officials (a§ 1983 claim)

          B.         Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                     the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                     federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
                      Fourteenth Amendment-due process of the law,
                      Freedom from discrimination for protected classes (see, race and national origin),
                      The right to petition the government.Freedom of speech, religion, assembly,
                      Cruel and unusual punishment
                      Abuse by a public official                                                                                       a
           C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                      are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                      officials?


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          D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                     42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law. Attach additional pages if needed.
                      The Plaintiff "clearly" "did not" file a Malpractice Compaint
                      Riffle v. Armstrong. 477 S.E.2d 535 (W.Va.Sup.Ct 1996)
                      Sassaali v. DeFauw,696 N.E.2d 1217 (Ill.App.Ct. 1998)
                      Liles v. P.1.A Medifield, 681 S0.2d 711 (Fla.Dist.Ct.Ap. 1996)
                      Lubera v. Jewish Association For Services for the Aged, 1996 W.I., 426375 (S.D.N .Y. 1996)                                                                                                                                        a
III.     Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.

         A.           Where did the events giving rise to your claim(s) occur?
                      The Superior Court of Cobb County State of Georgia
                      The Magistrate Court of Cobb County State of Georgia




         B.           What date and approximate time did the events giving rise to your claim(s) occur?
                      December 19, 2019 at approximately 9 Am at the Superior Court of Cobb County when Judge Shuster
                      allowed WellStar Health System Inc., to not have to provide any proof that it was not false imprisonment
                      and attempted murder.

                      March 12, 2018 at approximately 9 Am at the Cobb County Magistrate Court denying the warrents for                                                                                                                                 a
         C.           What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                      Was anyone else involved? Who else saw what happened?)
                      On December 15, 2017 at approximately 10:30 Am; I was dragged out of my car in the parking lot of the
                      Resurgens Orthopaedics Clinic on Mesa Valley way road in Austell, GA by two Cobb County Police
                      Officers and two Veterans Administration Police officers. I was dragged into the Veterans Administration
                      Federal Facility against my will while I was begging for on lookers to call 911 and report that I was being
                      abducted.

                      One of the Police Officers got into my car and drove it away and parked it somewhere and brought me
                      my keys. This is all documented in the Veteran's Administration Police Report Officer who filed his
                      report almost 2 months after the incident and only after it was being investigated by the OIG Office.
                      None of the other three Police Officers filed a Police Report and Cobb County has verified that neither
                      Cobb Police Officer has yet to file a Report which is required

                                                                                                                                                                                                                                         s- - - - - -a
                     --\::C.caH>St:i-e-t'NttaU1ttm-tt.b11:e~rv5\1<08e-ttlR'\,<2~01--t1+7+.12~1na5H0cl\Or11t-\a0e+1\t-O-PR<t:1e>1:10t110rtt--t1e:,tdr1bit1\t-'HAdlart-taO>ttaldH~IYIAd'aOl-lie='te:hJ.ttr-.c-Ot11Af+-VO-t-11.'~2o3,1~2~0-H1



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IV.      Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.
          I received PTSD from the traumatic experiences past and present while i was being held against my will and the
          emotional and financial hardship has made me loose my Parents due to the stress of my abduction and now
          because of the financial hardship I enduring due to the delay of Justice by this Cobb County Court is about to
          make me homeless which i will will file even more lawsuits against everyone involved.




V.       Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.
          I want everyone involved in my abduction, false imprisonment, assault and battery forgery, fraud on 12/15/2017
          thru 12/17/2017 at the Veterans Administration Austell Clinic, WellStar Cobb Hospital including Puckett
          Emergency Medical Services charged, arrested, prosecuted to the full extent of the law for their well documented
          both with video evidence showing all four police officers, lack of police reports, the VA police report filed nearly 2
          months later, Application for the Warrants, email rejecting the Warrants.

          I demand that everyone involved is also charged with attempted murder by injection.

          I demand that this is investigated as a hate crime.

          My physical damages from extreme back pain, knee pain, abdominal pain, PTSD, emotional distress from losing
          both of my Parents due to your hate crime, multiplied by the fact that I have to live with this pain, memory,
          wondering what you have planned next, will I live thru this day without your next move ending my life, is my
          granddaughter's life in jeopardy ...

          I demand $250 million for punitive damages from Cobb County for their part in everything describe here.




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VI.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: ( 1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.



         A.           For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case- related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.

                      Date of signing:                       08/14/2020


                      Signature of Plaintiff
                      Printed Name of Plaintiff                Deon D. Jones


         B.           For Attorneys

                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number
                      Name of Law Firm
                      Address


                                                                                 City        State          Zip Code

                      Telephone Number
                      E-mail Address




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II. Basis for Jurisdiction
B.

Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured

by the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what

federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

Fourteenth Amendment-due process of the law,
Freedom from discrimination for protected classes (see, race and national origin),
The right to petition the government,Freedom of speech, religion, assembly,
Cruel and unusual punishment
Abuse by a public official
Hate Crime
Human rights violation
Defamation of character by this court Order

D.

Section 1983 allows defendants to be found liable only when they have acted "under color of any

statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."

42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color

of state or local law. If you are suing under Bivens, explain how each defendant acted under color of

federal law. Attach additional pages if needed.

The Plaintiff "clearly" "did not" file a Malpractice Compaint.

Riffle v. Armstrong. 477 S.E.2d 535 (W.Va.Sup.Ct 1996)
Sassaali v. DeFauw,696 N.E.2d 1217 (Ill.App.Ct. 1998)
Liles v. P.I.A Medifield, 681 S0.2d 711 (Fla.Dist.Ct.Ap. 1996)
Lubera v. JewishAssociationFor Services for the Aged, 1996 W.I., 426375 (S.D.N.Y. 1996)
Plumadore v. New York 427 N.Y.App.Div. 1980)
Chadwick v. Al-Basha, 692 N.E.2d 390 (Ill.App.Ct.1998)
Demarco v. Sadiker, 952 F. Supp. 134 (E.D.N.Y 1996)
Dick v. Watonwa, 562 F. Supp. 1083 (D.Minn. 1983)(illegal ·confinement liability)
Foshee v. Health Management Associates, 675 S0.2d 957 (Fla.Dist.Ct.App. 1996)
James H. v. Ohio D.M.H., 439 N.E.2d 437 (OhioCt.App. 1982)




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III. Statement of Claim

B. What date and approximate time did the events giving rise to your claim(s) occur?

        December 19, 2019 at approximately 9 Am at the Superior Court of Cobb County when Judge Shuster

allowed Well Star Health System Inc., to not have to provide any proof that it was not false imprisonment and

attempted murder.

        March 12, 2018 at approximately 9 Am at the Cobb County Magistrate Court denying the warrents for

the arrest of Harold MaGee Jr., Jessica Fields, LPC, Dr. Joshua D. Rothstein, MD and Ericka R. Harvey BSN,

RN for a well documented false imprisonment and attempted murder by injection

C.

What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?

Was anyone else involved? Who else saw what happened?)

On December 15, 2017 at approximately 10:30 Am; I was dragged out of my car in the parking lot of

the Resurgens Orthopaedics Clinic on Mesa Valley way road in Austell, GA by two Cobb County

Police Officers and two Veterans Administration Police officers. I was dragged into the Veterans

Administration Federal Facility against my will while I was begging for on lookers to call 911 and

report that I was being abducted.


One of the Police Officers got into my car and drove it away and parked it somewhere and brought me

my keys. This is all documented in the Veteran's Administration Police Report Officer who filed his

report almost 2 months after the incident and only after it was being investigated by the OIG Office.

None of the other three Police Officers filed a Police Report and Cobb County has verified that neither

Cobb Police Officer has yet to file a Report which is required.




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Case Number 508 IR20171215-001010 Reported by Harold Magee Jr. on 01/23/2018

Incident Disposition: UNFOUNDED

Department of Veterans Affairs Police

508-Atlanta VAMC-Decatur

1670 Clairmont Road

Decatur, GA 30033

       I don't have any warrants, never have had any warrants, never have been arrested, no DUI

charges or any domestic charges so there is absolutely no reason at all for any Police Officer to be

dragging me out of my car and into a Federal Building and talcing part in a Hate Crime orchestrated by

the government.

       I was then transferred against my will by Puckett Emergency Medical Services who "forged"

my signature on a 5 page document allowing them to fraudulently use my authority to not only collect

money from the Veterans Administration which will come out of my Social Security, but also alleges

that I gave them my permission to disperse their fraudulent documents to whomever they please while

defaming my character.

       Within 5 minutes of arriving at WellStar Cobb Hospital, Dr. Joshua D. Rothstein, MD had

already ordered me to be injected with morphine and another opioid cocktail which would have clearly

killed me while I was having a pancriatic attack. WellStar Health Systems Inc had just recently settled a

$3 .5 million dollar lawsuit for killing a patient in the WellStar Kennesaw Hospital Emergency Room.

       WellStar Health Systems, Inc., and Cobb County are or have been Co-Defendants in numerous

deaths at the Cobb County Jail by WellStar Health System injecting inmates with morphine and other

opioid cocktails killing them and demanding justice by the NAACP.

       Every time I go to Cobb County to try to get justice I always leave fearful of my life especially

with them always asking do I live in Cobb County and when i say know they all look at each other and

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sends chills down my spine. I believe Cobb County is taking a active part in taking my life to the point

I am way to fearful of my life to take a Deposition Scheduled on August 20, 2020 in Cobb County. I am

absolutely certain I will never be seen again if I was to show up there.

          In Judge Shuster allowing WellStar Health System to leave court on December 16, 2019; leaves

my life in jeopardy to snatched again by this criminal organization. You have Cobb County Police to

round you up and get rid of your car, Puckett EMS to whisk you away, WellStar Health System waiting

to kill you by injection and the Cobb County Coroner to get the death certificate right. If you survive,

you have the Cobb County Courts to sweep it under the rub while violating ones civil rights to not not

be killed.

This hate crime is so well documented everyone involved should be prosecuted and immediately put in

prison.




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